                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                  CRIMINAL ACTION NO. 3:15-CR-213-FDW-DCK

 UNITED STATES OF AMERICA,                            )
                                                      )
                Plaintiff,                            )
                                                      )
    v.                                                )      ORDER
                                                      )
 DINO NASTASI,                                        )
 DAVID FAIRCHILD,                                     )
 SABRINA MOMMERS,                                     )
 KRISTIAN SIERP,                                      )
 ROBERT JESUS VALDES FERNANDEZ,                       )
 STEPPHEN E. FINCK,                                   )
 THOMAS SNIFFEN,                                      )
 BARRY HARMELIN,                                      )
 CARLIN WOODS,                                        )
 PATRICIO DEL-HOYO,                                   )
 MICHAEL SAXON,                                       )
 GAVIN JORDAN, and                                    )
 DONALD DODT,                                         )
                                                      )
                Defendants.                           )
                                                      )

         THIS MATTER IS BEFORE THE COURT on the “Application For Admission To

Practice Pro Hac Vice” (Document No. 27) filed by S. Frederick Winiker, III, concerning Scott

King, on June 27, 2016. Mr. Scott King seeks to appear as counsel pro hac vice for Defendant

Carlin Woods. Upon review and consideration of the motion, which was accompanied by

submission of the necessary fee, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the

“Application For Admission To Practice Pro Hac Vice” (Document No. 27) is GRANTED. Mr.

Scott King is hereby admitted pro hac vice to represent Defendant Carlin Woods.




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  SO ORDERED.



                             Signed: June 29, 2016




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